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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )      2:10cr186-MHT
MILTON E. McGREGOR,                )          (WO)
THOMAS E. COKER,                   )
LARRY P. MEANS,                    )
JAMES E. PREUITT,                  )
HARRI ANNE H. SMITH,               )
JARRELL W. WALKER, JR.,            )
and JOSEPH R. CROSBY               )

                                ORDER

    At the in camera pretrial conference on January 4,

2012, and in an opposition brief (Doc. No. 1920) to a

motion in limine, the government requested that two FBI

agents be permitted to remain at counsel table throughout

the trial.

    It is therefore ORDERED that the government’s request

that two FBI agents be permitted to remain at counsel

table throughout the trial is set for submission, without
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oral argument, on January 17, 2012, with the government

to file its brief by January 11, 2012, and the defendants

to file their brief by January 17, 2012.

    DONE, this the 6th day of January, 2012.

                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
